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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                           Case No. 17-60471-CIV-O’SULLIVAN

                                         [CONSENT]

 GRIFFEN LEE,

        Plaintiff,

 v.

 CHARLES G. McCARTHY, JR.,

      Defendant.
 ________________________________/

             ORDER SETTING PRETRIAL CONFERENCE AND TRIAL DATE

        This case is set for trial commencing Monday, June18, 2018, before United

 States Magistrate Judge John J. O’Sullivan at the United States District Court, 301 North

 Miami Avenue, Miami, Florida, Fifth Floor. All parties are directed to report to the

 calendar call at 3:00 PM on Wednesday, June 13, 2018, at which time all matters

 relating to the scheduled trial date may be brought to the attention of the Court. A final

 pretrial conference as provided for by Rule 16, Fed. R. Civ. P., and Rule 16.1(C), S.D.

 Fla. L.R., is scheduled Wednesday, May 16, 2018, at 10:00 AM. A bilateral pretrial

 stipulation and all other pretrial preparations shall be completed NO LATER THAN FIVE

 DAYS PRIOR TO THE PRETRIAL CONFERENCE. Any and all pretrial motions,

 including motions for summary judgment, must be filed no later than Wednesday,

 January 31, 2018. Responses to any motions for summary judgment shall be filed on or

 before Wednesday, February 14, 2018. Any replies shall be filed on or before

 Wednesday, February 21, 2018.
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         All exhibits must be pre-marked, and a typewritten exhibit list setting forth the

 number and description of each exhibit must be submitted at the time of trial. For a jury

 trial, counsel shall prepare and submit joint proposed jury instructions to the Court. The

 joint proposed jury instructions shall indicate any objections by either party to any

 instruction. For a non-jury trial, the parties shall prepare and submit to the Court

 proposed findings of fact and conclusions of law fully supported by the evidence which

 counsel expects the trial to develop and fully supported by citations to law. The

 proposed jury instructions or the proposed findings of fact and conclusions of law shall

 be submitted to the Court no later than one week prior to the pretrial conference.

 Counsel shall submit a copy of the joint proposed jury instructions or proposed

 findings of fact and conclusions of law as an attachment, in WordPerfect format,

 to O'Sullivan@flsd.uscourts.gov.

         DONE AND ORDERED in Chambers at Miami, Florida, this 17th day of January,

 2018.

                                            ___________________________________
                                            JOHN J. O'SULLIVAN
                                            UNITED STATES MAGISTRATE JUDGE


 Copies provided:
 All counsel on record
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                           DISCOVERY PROCEDURE FOR
                       MAGISTRATE JUDGE JOHN J. O'SULLIVAN

       The following discovery procedures apply to all civil CONSENT cases assigned to
 United States Magistrate Judge John J. O’Sullivan.

       If parties are unable to resolve their discovery disputes without Court intervention,
 Magistrate Judge John J. O'Sullivan will set the matter for a hearing. Discovery disputes
 are generally set for hearings on Tuesdays and Thursdays in the 5th Floor Courtroom,
 United States Courthouse, 301 N. Miami Avenue, Miami, Florida.

        If a discovery dispute arises, the moving party must seek relief within fifteen (15)
 days after the occurrence of the grounds for relief, by contacting Magistrate Judge
 O'Sullivan’s Chambers and placing the matter on the next available discovery calendar.
 Magistrate Judge O'Sullivan’s telephone number is (305) 523-5920.

         After a matter is placed on the discovery calendar, the movant shall provide notice
 to all relevant parties by filing a Notice of Hearing. The Notice of Hearing shall briefly
 specify the substance of the discovery matter to be heard and include a certification that
 the parties have complied with the pre-filing conference required by Southern District of
 Florida Local Rule 7.1(a)(3). Generally, no more than ten (10) minutes per side will be
 permitted.

        No written discovery motions, including motions to compel and motions for
 protective order, shall be filed unless requested by Magistrate Judge O'Sullivan. It is the
 intent of this procedure to minimize the necessity of motions.

         The Court expects all parties to act courteously and professionally in the resolution
 of their discovery disputes and to confer in an attempt to resolve the discovery issue prior
 to setting the hearing. The Court may impose sanctions, monetary or otherwise, if the
 Court determines discovery is being improperly sought or is not being provided in good
 faith.
